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               UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE THE HONORABLE MARK A. BARNETT, CHIEF JUDGE

                                                            )
PRIMESOURCE BUILDING PRODUCTS, INC.,                        )
                                                            )
                              Plaintiff and                 )
                                                            )
CHENG CH INTERNATIONAL CO., LTD.,                           )
CHINA STAPLE ENTERPRISE                                     )
CORPORATION, DE FASTENERS INC.,                             )
HOYI PLUS CO., LTD., LIANG CHYUAN                           )
INDUSTRIAL CO., LTD.,                                       )
TRIM INTERNATIONAL INC.,                                    )
UJL INDUSTRIES CO., LTD.,                                   )
YU CHI HARDWARE CO., LTD., AND                              )
ZON MON CO., LTD.,                                          ) Consol. Court No. 20-03911
                                                            )
                             Consolidated Plaintiffs,       )
                                                            )
                             v.                             )
                                                            )
UNITED STATES,                                              )
                                                            )
                              Defendant, and                )
                                                            )
MID CONTINENT STEEL & WIRE INC.,                            )
                                                            )
                              Defendant-Intervenor.         )
                                                            )

                                     NOTICE OF APPEAL

       Notice is hereby given that Plaintiff PrimeSource Building Products, Inc. in the above-

named case hereby appeals to the United States Court of Appeals for the Federal Circuit from the

slip opinion and final judgment entered in this action on June 16, 2022. See PrimeSource

Building Products, Inc., et al. v. United States, Consol. Ct. No. 20-03911, Slip Op. 22-73 (June

16, 2022), ECF Nos. 39-40.
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                                        Respectfully submitted,

August 12, 2022                         /s/ Jeffrey S. Grimson
Date                                    Jeffrey S. Grimson
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                                        Products, Inc.




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